Case 2:18-cv-10501-DML-RSW ECF No. 39-8 filed 03/26/19   PageID.271   Page 1 of 2




                   EXHIBIT H
Case 2:18-cv-10501-DML-RSW ECF No. 39-8 filed 03/26/19                                 PageID.272         Page 2 of 2




                               Smith, et al. v. Silverstar, et al., Case
                                 No. 2:18-cv-10501-DML-RSW
                                                                                                FEB 1 9 20f9
                                       CONSENT TO JOIN FORM
          1.         I Consent to be a party plaintiff in a lawsuit against Defendants Silverstar Delivery, Ltd.
    ("Silverstar") and Amazon.com, LLC and Amazon.com Services, Inc. ("Amazon") and/or related entities
    in order to seek redress for violations of the Fair Labor Standards Act, pursuant to 29 U.S.C. § 216(b).

         2.          I hereby designate DiCello Levitt & Casey LLC and other attorneys with whom they
    associate to make decisions on my behalf concerning the litigation. I agree to be bound by any
    adjudication of this action by the Court, or by any settlement, whether it is favorable or unfavorable.


                                                      Signature:~-
                                                                {/
                                                      Print Name:    Le...'\ \Lw1J
